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 4

 5                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,
 7
                             Plaintiff,                    13-CR-12-RMP-1
 8
              vs.
 9
      GREGORY D. JEFFREYS,                                 Preliminary Order of Forfeiture
10
                             Defendant.
11

12
            IT IS HEREBY ORDERED THAT:
13

14          As the result of the Defendant’s guilty pleas to Counts 1 – 3 of the Information
15 Superseding Indictment, charging the Defendant with Wire Fraud Affecting a

16
     Financial Institution, in violation of 18 U.S.C. § 1343; Bank Fraud, in violation of 18
17

18 U.S.C. § 1344; and, Wire Fraud, in violation of 18 U.S.C. § 1343, for which the

19 United States sought forfeiture pursuant to 18 U.S.C. § 982; and/or 18 U.S.C. §

20
     981(a)(1)(C) and 28 U.S.C. § 2461(c), Defendant, GREGORY D. JEFFREYS, shall
21

22 forfeit to the United States, any property, real or personal, which constitutes or is

23 derived from proceeds traceable to the offenses.

24
            The Court has determined, based upon Defendant’s plea agreement, that the
25

26 following assets are subject to forfeiture pursuant to 18 U.S.C. § 982; and/or 18

27
     U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and that the United States has
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     established the requisite nexus between such assets described above and such
 1

 2 offense(s):

 3
            MONEY JUDGMENT
 4
            (a)    A sum of money equal to $1,400,730.15 in United States currency,
 5                 representing the amount of proceeds obtained as a result of the
                   Count 2 bank fraud offenses;
 6

 7          MONEY JUDGMENT
 8
            (b)    A sum of money equal to $2,062,489.00 in United States
 9                 currency, representing the amount of proceeds obtained as a
10
                   result of the Count 3 wire fraud offenses;

11
            CONVEYANCES
12

13
            (c)    2006 Cadillac Escalade, Nevada License Plate: LVA4J5, VIN:
                   1GYEC63N66R151835;
14

15          U.S. FUNDS
16          (d)    $55,072.29 U.S. funds seized by FBI pursuant to a seizure
17                 warrant, on or about July 24, 2012, from Wells Fargo Bank
                   Checking and Savings Account xxxx-0146;
18

19          (e)    $50,000.00 of the $75,000.00 U.S. funds seized by FBI, pursuant
                   to a seizure warrant, on or about August 16, 2012, from
20                 RiverBank Consumer Money Market Account xxxx-1971; and,
21
            REAL PROPERTY
22
            (f)    26218 South Buttonwood Drive, Sun Lakes, Arizona, legally
23                 described as follows: Lot 101, Sun Lakes Unit Twenty-Four,
24                 according to Book 293 of Maps, Page 7, records of Maricopa
                   County, Arizona; except all oil, gas, minerals and rights thereto.
25

26          Upon the entry of this Order, the United States Attorney General (or a designee)

27 is authorized to seize the above-listed assets subject to forfeiture, whether held by the

28


     Preliminary Order of Forfeiture 2
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     Defendant or a third party, and to conduct any discovery proper in identifying,
 1

 2 locating, or disposing of property subject to forfeiture, in accordance with Fed. R.

 3
     Crim. P. 32.2(b)(3).
 4
            Upon entry of this Order, the United States is authorized to commence any
 5

 6 applicable proceeding to comply with statutes governing third party rights, including

 7
     giving notice of this Order.
 8
            The United States shall publish notice of the order and its intent to dispose of
 9

10 the property in such a manner as the United States Attorney General may direct. The

11
     United States may also, to the extent practicable, provide written notice to any person
12

13
     known to have an alleged interest in the property listed above. Any person, other than

14 the above-named Defendant, asserting a legal interest in the above-listed property

15
     may, within thirty (30) days of the last date of internet posting of notice, or by the date
16

17 indicated on direct notice, if sent, whichever is earlier, petition the court for a hearing

18 without a jury to adjudicate the validity of his/her alleged interest in the above-listed

19
     forfeited assets and for an amendment of the order of forfeiture, pursuant to 21 U.S.C.
20

21 § 853(n), as incorporated by 18 U.S.C. § 982(b)(1) and/or 18 U.S.C. § 981 and 28

22 U.S.C. § 2461(c).

23
            Any petition filed by a third party asserting an interest in the above-listed
24

25 forfeited assets shall be signed by the petitioner under penalty of perjury and shall set

26 forth the nature and extent of the petitioner's right, title, or interest in said property,

27
     the time and circumstances of the petitioner's acquisition of the right, title or interest
28


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     in said assets, and any additional facts supporting the petitioner's claim and the relief
 1

 2 sought.

 3
            Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture is
 4
     final as to the Defendant at the time of sentencing, and is made part of the sentence
 5

 6 and included in the judgment. If no third party files a timely claim, this Order shall

 7
     become the Final Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).
 8
            After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)
 9

10 and before a hearing on the petition, discovery may be conducted in accordance with

11
     the Federal Rules of Civil Procedure upon a showing that such discovery is necessary
12

13
     or desirable to resolve factual issues.

14          The United States shall have clear title to the above-listed assets following the
15
     Court's disposition of all third-party interests, or, if none, following the expiration of
16

17 the period provided in 21 U.S.C. § 853(n)(2), as incorporated by 18 U.S.C. 982(b)(1),

18 and/or 18 U.S.C. § 981 and 28 U.S.C. § 2461(c), for the filing of third party petitions.

19
            The Court shall retain jurisdiction to enforce this Order, and to amend it as
20

21 necessary, pursuant to Fed. R. Crim. P. 32.2(e).

22          The District Court Clerk is directed to enter this Order and provide copies to
23
     counsel.
24

25          DATED this 29th day of May 2014.

26

27                                                         s/ Rosanna Malouf Peterson
                                                     ROSANNA MALOUF PETERSON
28                                                  Chief United States District Court Judge

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